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IN THE UNITED STA'I`ES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
J. IRVIN BEATLEY,
Plaintiff,
v. Civil Action No. 3:18-cv-00037
CHARLES E. AYERS, JR., et al.,
Defendants.
OPINION

The plaintiff, J. Irvin Beatley, sued the defendants in state court for payments that the
defendants owed him after a failed real estate venture. The parties settled the case, but the
defendants failed to honor their end of the bargain. Beatley now seeks a judgment in this Court
against the defendants for breach of contract and fraud. The defendants, Charles E. Ayers, Jr.,
Ralph L. Costen, Jr., and J esse L. Barber, have moved for summary judgment, arguing that Beatley
cannot prove that he suffered damages. Beatley, however, has shown that he has exposure to a
third party for a judgment because the defendants’ failed to comply with certain provisions of the
settlement agreement. Because Beatley can establish damages based on the defendants’ alleged
breaches, the Court will deny the defendants’ motion for summary judgment.

I. BACKGROUND

This case arises from a soured business relationship concerning a failed real estate
development in Hopewell, Virginia. In 2017, Beatley sued the defendants in the Richmond Circuit
Court. On June 15, 2017, the parties entered into a settlement agreement. Paragraph 2 of the
settlement agreement required the defendants to pay Beatley $134,000 by July 17, 201'7.

Paragraph 3 provided that the defendants would (l) assume Beatley’s obligations on a loan from

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Fulton Bank in the amount of $157,149.79; (2) use “all best efforts” to obtain Fulton’s consent to
assume the loan; and (3) pay the monthly interest charges associated with the loan.

Beatley now argues that the defendants never intended to honor the settlement agreement,
Although the parties dispute the defendants’ intent, they agree that the defendants failed to pay
Beatley $l34,000 by the July l7, 2017, deadline. To fulfill the defendants’ obligations under
paragraph 3 to use “all best efforts” to obtain Fulton’s consent to assume the |oan, Ayers sent a
letter and left a voicemail for Timothy Robinson, the Vice President of Fulton. The defendants’
efforts to obtain Fulton’s consent, however, ultimately failed.

On .lanuary 18, 2018, Beatley sued the defendants in this Court, alleging (l) breach of
contract; (II) conspiracy to breach contract; (III) fraudulent inducement; and (IV) conspiracy to
commit fraud. The defendants moved to dismiss Count II under Rule 12(b)(6), and the Court
denied the motion.' On February 23, 2018, Beatley moved for partial judgment as to Count l for
$134,000. On April 13, 2018, the defendants finally paid Beatley $134,000 pursuant to paragraph
2 of the settlement agreement, plus 6% interest.2

On May 15, 2018, Fulton sent a letter to Beatley notifying him that the loan had been
satisfied John Woodfln, Sr., had put up collateral years earlier to secure the loan. Fulton used

Woodfm’s collateral to satisfy the balance on the loan. Although the defendants have not assumed

 

1 In the Order denying the defendants’ motion to dismiss, the Honorable M. Hannah Lauck directed
the Clerk to reassign the case,

2 ln sum, the defendants paid $l39,949.60. They paid $93,417.38 to Beatley and $46,532.22 to
Setliff Law, P.C. Because Setliff represented Beatley in state court, it had asserted an attomey’s
lien on the settlement proceeds for $46,532.22. The Court thus denied as moot Beatley’s motion
for partial judgment.

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the loan pursuant to paragraph 3 of the settlement agreement, the defendants did make the required
monthly interest payments.

Because the defendants have fulfilled their obligations under paragraph 2 and the Fulton
loan now has a zero balance, the defendants say that Beatley cannot prove damages. Beatley
argues that he has suffered damages because he now has exposure to Woodfln’s estate for a claim
in connection with the Fulton loan.

II. DISCUSSION3

Beatley’s claims all require proof of damages as an element, so he must show that he
suffered damages to survive a motion for summary judgment.4

Beatley has made that showing Because Fulton used Woodfm’s collateral to satisfy the
loan, Beatley has exposure to Woodfm’s estate for the value of the collateral. Virginia law
authorizes a guarantor’s personal representative to “obtain a judgment or decree against any
person” for the amount the guarantor paid to secure a loan. Va. Code Ann. § 49-27. Moreover,
an estate’s personal representative “ha[s] not only the authority, but most likely even the duty, to

file suit to collect debts owed to the decedent’s estate.” Campbell v. Harmon, 271 Va. 590, 600,

 

3 Rule 56 of the Federal Rules of Civil Procedure directs courts to grant summary judgment “if the
movant shows that there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a). ln deciding a summaryjudgment motion, the
court must draw all reasonable inferences in favor of the non-moving party. Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 255 (1986). Nevertheless, if the non-moving party fails to sufficiently
establish the existence of an essential element to its claim on which it bears the ultimate burden of
proof, the court should enter summary judgment against that party. Celolex Corp. v. Catrell, 477
U.S. 317, 322 (1986).

4 Beatley asserts claims for (I) breach of contract, Navar, Inc. v. Fed. Bus. Council, 291 Va. 33 8,
344, 784 S.E.3d 296, 299 (2016) (listing as an element “injury or damage to the plaintiff caused
by the breach of obligation”), (lI) conspiracy to breach contract based on tortious interference with
contract, Fox v. Deese, 234 Va. 412, 428-29, 362 S.E.2d 699, 708 (1987) (listing damages as an
element for tortious interference of contract), (IIl) fraudulent inducement, Richmond Melro. Auth.
v. McDevitt Street Bovis, Inc., 256 Va. 553, 557-58, 507 S.E.2d 344, 346 (1998) (listing as an
element “resulting damage to the party misled”), and (IV) conspiracy to commit i`raud, id.

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628 S.E.2d 308, 313 (2006); see also lsbell v. Flippen, 185 Va. 977, 981, 41 S.E.2d 31, 33 (1947)
(“[F]ailure to proceed promptly with the collection of assets due the decedent’s estate is
negligence, for which the personal representative may be liable.”). Undei' Virginia law, therefore,
Beatley has shown that he has exposure to Woodl`in’s estate beyond mere "uncertainties,
contingencies, or speculation.” See Shepherd v. Davis, 265 Va. 108, 125, 574 S.E.2d 504, 524
(2003). Because Beatley could establish damages at trial, the Court must deny the motion for
summary judgment.

Further, whether the defendants used “all best el`forts” to obtain Fulton’s consent to assume
the loan is a disputed material fact. The defendants have given conflicting testimony regarding
their efforts to obtain Fulton’s consent. See Zoroaslrian Ctr. & Darb E-Mehr of Me!ro. Wash.,
D.C. v. Rustam Guiv Found. of N.Y., 822 F.3d 739, 751 (4th Cir. 2016) (“While conflicting
testimony can indeed preclude summary judgment, any inconsistency must concern a material
fact.”). For example, Costen testified that he took no action to obtain Fulton’s consent to assume
the loan. (Costen Dep. 19:17 - 21 :4.) Ayers, however, testified that Costen spoke to the President
of Fulton about the loan. (Ayers Dep. 24:16 - 25:8.) Due to this disputed factual issue, the Court

must deny the defendants’ motion for summary judgment.5

 

5 The defendants further argue that Beatley cannot succeed on his fraud claims because they always
intended to honor the settlement agreement, “Questions of intent,” however, “are hard to decide
on summary judgment” because “[t]hey are almost always inferential, and best left to the trier of
fact who can observe the witnesses and determine whether explanations hold water.” Ferrell v.
Harris Vemures, Inc., 812 F. Supp. 2d 741 , 748 (E.D. Va. 201 l); see also Gen. Analytics Corp. v.
CNA Ins. Cos., 86 F.3d 51, 54 (4th Cir. 1996) (“[D]etermining intent is fact-intensive, and when
the circumstantial evidence of a person’s intent is ambiguous, the question of intent cannot be
resolved on summary judgment.”). Because the parties tell two different stories regarding the
defendants’ intent to comply with the settlement agreement, summaryjudgment is not appropriate.

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III. CONCLUSION
Because Beatley can show that he suffered damages and has raised a genuine dispute of
material fact, the Court will deny the defendants’ motion for summaryjudgment.
The Court will issue an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

/s/ ¢',, }-

Date: g Nov. 2018 John A_ Gibn¢y, J;,i/'
Richmond, VA United States Dis ct J ge

 

 

 

